Entered: October 2nd, 2018
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Signed: October 1st, 2018

SO ORDERED




                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF MARYLAND
                                                 Baltimore Division

         In re:                                          *
                                                         *
                   MATTHEW BOWERS                        *           Case No. 18-18277-DER
                                                         *
                   NICOLE BOWERS                         *                  (Chapter 13)
                                                         *
                             Debtors                     *
                                                         *

                                              ORDER CONFIRMING PLAN

                 The Plan under Chapter 13 of the Bankruptcy Code having been transmitted to creditors and
         it having been determined, after hearing on notice, that the requirements for confirmation set forth in
         11 U. S. C. §1325 have been satisfied and that the plan complies with the other applicable
         provisions of the Bankruptcy Code, it is hereby:

                   ORDERED, that the plan of the Debtors filed August 8, 2018 is hereby confirmed; and it is
         further

                ORDERED, that the property of the estate shall not vest in the Debtors until the Debtors are
         granted a discharge or this case is dismissed; and it is further

                 ORDERED, that the Debtors are directed to pay to the Trustee the sum of $550.00 on or
         before the 18th day of each month for a period of 60 months.

                                   *              *              *              *

         TRUSTEE RECOMMENDATION:
         The Chapter 13 Trustee represents that the plan complies with the provisions of 11 U.S.C. §1325
         and recommends confirmation.

         /s/ Robert S. Thomas, II
         Robert S. Thomas, II, Chapter 13 Trustee

         cc:       All Creditors, Debtors, Counsel to Debtors, Trustee

                                                      END OF ORDER
